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  IT IS ORDERED as set forth below:



  Date: March 30, 2022
                                                    _________________________________

                                                              Paul W. Bonapfel
                                                        U.S. Bankruptcy Court Judge
 _______________________________________________________________




                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

       IN RE:                                              CASE NUMBER: 22-50495-PWB

       HIEP NGOC TRAN
       aka Ngoc-Hiep Thi Tran,                             CHAPTER 7

                Debtor.
                                                           JUDGE BONAPFEL
       HIEP NGOC TRAN
       aka Ngoc-Hiep Thi Tran,
                                                           CONTESTED MATTER
                Movant,

       v.

       CITIBANK, N.A.,

                Respondent.

                                            ORDER

                   Before the Court is the Motion to Avoid Lien (the “Motion”) of the above-
      named Debtor, as provided by 11 U.S.C. § 522(f) and Bankruptcy Rule 4003(d). (Docket
      No. 11). This Respondent has not filed a response; thus, the Motion is deemed to be
      unopposed. See BLR 6008-1(b), N.D. Ga. Accordingly, it is hereby
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                    ORDERED AND ADJUDGED that the lien held by the Respondent upon
      exempt property of the above-named Movant is AVOIDED to the extent that such lien
      impairs an exemption to which Movant would have been entitled pursuant to 11 U.S.C.
      § 522(b).

                    The Clerk of Court is directed to serve a copy of this Order on the parties
      on the below distribution list.
                                      END OF DOCUMENT

                                      DISTRIBUTION LIST

       Hiep Ngoc Tran                               Citibank, N.A.
       308 Wickley Way                              Jane Fraser, CEO
       Woodstock, GA 30188                          701 East 60th Street North
                                                    Sioux Falls, SD 57104
       E. L. Clark
       Clark & Washington, LLC
       Bldg. 3
       3300 Northeast Expwy.
       Atlanta, GA 30341

       S. Gregory Hays
       Hays Financial Consulting, LLC
       Suite 555
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       Atlanta, GA 30305
